         Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

CHRISTOPHER FORET                   *           CIVIL ACTION NO. 20-467
                                    *
      Plaintiff                     *
                                    *           JUDGE: Susie Morgan
VERSUS                              *
                                    *
PROGRESSIVE WASTE SOLUTIONS         *           MAGISTRATE: Dana Douglas
OF LA, INC., a/k/a WASTE            *
CONNECTIONS BAYOU, INC., JOHN       *
DOE AND ACE AMERICAN                *
INSURANCE COMPANY                   *
                                    *
      Defendants                    *
______________________________________________________________________________

             OPPOSITION TO PLAINTIFF’S MOTION TO LIFT STAY
______________________________________________________________________________

         NOW INTO COURT, through undersigned counsel, come Defendants Waste

Connections Bayou, Inc., f/k/a Progressive Waste Solutions of LA, Inc. (“Waste Connections”),

and ACE American Insurance Company (“ACE”), who submit this Opposition in response to

Plaintiff’s Motion to Lift Stay (Rec. Doc. 54) filed by Plaintiff, Christopher Foret.

         The basic threshold required by this Court to lift the Stay Order, i.e. a demonstration by

any party that the criminal investigation has concluded, has not been met. Additionally, the six

considerations that this Court addressed in determining that a stay was warranted initially have not

changed. Therefore, Plaintiff’s Motion to Lift Stay should be denied and the stay should continue

until the criminal investigation into Plaintiff, the alleged witness, and/or Plaintiff’s counsel has

concluded.

    I.       FACTUAL AND PROCEDURAL BACKGROUND
         This litigation arises from an alleged automobile accident that occurred on or about

November 23, 2018 in which Plaintiff, Christopher Foret (“Plaintiff”) alleges to have been

                                                  1
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 2 of 10




involved in an accident on Interstate 10 northwest of the French Quarter between Exit 236

(Esplanade Avenue) and Exit 234 (US 90/Claiborne Avenue/Westbank) with a garbage truck

owned and operated by Defendant, Waste Connections Bayou, Inc. f/k/a Progressive Waste

Solutions of LA, Inc (“Waste Connections”). (Rec. Doc. 1, p. 2; Rec. Doc. 1-2, p. 2). Plaintiff

alleges that he sustained serious injuries and that the Waste Connections’ vehicle allegedly

involved in the accident fled the scene. (Rec. Doc. 1, p. 4). Waste Connections denies any

involvement in the alleged accident. (Rec. Doc. 5, p. 5).

         On July 22, 2020, Defendants filed a Motion to Stay and highlighted the fact that over a

dozen cases involving similar facts, i.e. a commercial vehicle accident alleged on Interstate 10,

had been stayed by the Eastern District due to reliable information that a criminal investigation by

the U.S. Attorney’s Office was ongoing. (Rec. Doc. 19, p. 1). Plaintiff opposed the Motion to Stay,

focusing on the fact that neither Plaintiff nor his counsel were allegedly aware of being targets to

a federal investigation. (Rec. Doc. 30).

         On September 30, 2020, this Court granted the Defendants’ Motion to Stay explaining,

“[t]he Court has received reliable information that there is an ongoing criminal investigation by

the U.S. Attorney’s Office that may involve this proceeding or witnesses or counsel in the

proceeding.” (Rec. Doc. 45, p. 1). After noting the six considerations that it analyzed to determine

to stay this litigation, this Court explained, “[t]he matter may be reopened upon the motion of any

party demonstrating that the criminal investigation has concluded, at which time a new trial date

will be set.” (Rec. Doc. 45, p. 2).

         On June 1, 2023, Plaintiff filed a Motion to Lift Stay attaching as exhibits only an affidavit

waiving his Fifth Amendment right against self-incrimination and excerpts from the one deposition

that occurred prior to the Stay Order. (Rec. Doc. 54; Rec. Doc. 54-4; Rec. Doc. 54-5; Rec. Doc.


                                                   2
4724822 v3
          Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 3 of 10




54-6; Rec. Doc. 54-7). Plaintiff argues in his Motion to Lift Stay that an investigation does not

exist and that the six considerations originally analyzed by the Court now all weigh in favor of

lifting the stay. (Rec. Doc. 54, pp. 9, 12).

          In filing this Opposition, Defendants aver that the six factors originally analyzed by this

Court remain unchanged.          Further, Plaintiff failed to provide any determination that the

investigation has concluded, which was required by this Court in order to lift the stay.

    II.      LAW AND ARGUMENT

    A. Legal Standard for a Stay Order
          The district court has the discretion of whether or not to stay civil litigation. Campbell v.

Eastland, 307 F.2d 478, 487 (5th Cir. 1962). “[A] district court may stay a civil p roceeding during

the pendency of a parallel criminal proceeding.” Villani v. Devol, 2016 WL 1383498, at *2 (M.D.

La. April 7, 2016). When civil and criminal suits are pending simultaneously, the district court

“in special circumstances should stay one of the proceedings pending completion of the other to

prevent a party from suffering substantial and irreparable prejudice.” Id. (internal quotations

omitted).

          Further, the existence of an ongoing investigation is not synonymous with a criminal

charge or indictment. In Mejia v. Brothers Petroleum, LLC, the plaintiffs were attempting to lift a

stay order and defendants sought to extend a stay order due to the concurrent criminal investigation

of a co-defendant. 2017 WL 1021524 (E.D. La. March 16, 2017). The Mejia plaintiffs argued, in

part, that because the defendants could not provide evidence of imminent indictment or that the

federal investigation remained active, the stay order should be lifted. Id. at *2. The Eastern

District responded explaining, “[a]s a threshold matter, there is no ‘imminence’ requirement for a

stay or an extension of an ongoing stay, and plaintiffs point to no case or authority suggesting that

an indictment must be imminent in order to justify staying a parallel civil case.” Id. (citing S.E.C.
                                                3
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 4 of 10




v. Offill, 2008 WL 958072, at *3 (N.D. Tex. Apr. 9, 2008) (“Thus although criminal charges have

not yet been filed against the two criminal targets, this fact does not militate against granting a stay

of discovery.”); Waste Mgmt. of Louisiana, LLC v. River Birch, Inc., 2012 WL 520660, at *2, 6

(E.D. La. Feb. 15, 2012)).

         Plaintiff’s argument to lift the stay ultimately boils down to the self-serving assertion that

Plaintiff himself is not under a federal, criminal investigation and that the alleged facts of the

“accident do not warrant any criminal aspects of an investigation whatsoever.” (Rec. Doc. 54-1,

p. 3). However, Plaintiff does not provide any evidence to support his claim that an ongoing

federal investigation involving either the Plaintiff himself, the alleged witness, or Plaintiff’s

counsel has concluded.

    B. The reasoning for the Stay Order issued by this Court has not changed and Plaintiff
       has not provided any evidence to the contrary.
         In issuing the Stay Order, this Court addressed six considerations: 1) the overlap between

the civil and criminal case; 2) the status of the criminal case; 3) private interests of the plaintiff; 4)

private interest of the defendants; 5) the interests of the court; and 6) the public interest. (Rec. Doc.

45, p. 1 (citing Dolan v. Parish of St. Tammany, 2013 WL 3270616, at *6 (E.D. La. June 26,

2013)). The circumstances and evaluation of the six pertinent considerations remain the same at

this point in the litigation.

         First, to the extent known by Defendants, the civil and criminal case overlap in relation to

the Plaintiff, the alleged witness, Mr. Ivery, and/or Plaintiff’s counsel. Plaintiff’s attempt to point

the finger at the Defendants by alleging false accusations and alleging no proof of an investigation

ignores the fact that this Court seeks a determination from either party that the investigation has

concluded rather than proof from the Defendant that the investigation is ongoing. Second, the

status of the criminal investigation remains unchanged and is ongoing as far as Defendants are

                                                    4
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 5 of 10




aware. This Court offered the fact that it had received reliable information about an ongoing

investigation and unless this Court has been informed otherwise, the status of the criminal

investigation is unchanged. In regards to factors three, four, and five, the interests of the Plaintiff,

the Defendants, and the Court would benefit with the continuance of this stay until the criminal

proceedings conclude to avoid any Fifth Amendment issues. Although Plaintiff submitted an

affidavit waiving his Fifth Amendment rights, district courts have granted stays even when the

pertinent party provides a waiver of Fifth Amendment rights. See Villani, 2016 WL 1383498, at

*7. Continuing the stay in this case will also allow for future discovery efforts to be streamlined

in the future when the investigation concludes and litigation continues, which would be beneficial

to all parties and this Court.     Sixth, and last, the public interest certainly benefits from a

continuance of the stay considering this is a federal investigation within the district of this Court

and the roadways that the public of this district utilize.

         The analysis of these six factors reveals that significant changes that would warrant a lift

of the Stay Order have not occurred. While not privy to the federal government’s investigation

efforts, the Defendants have not been made aware of and the plaintiff has not provided any

documentation, evidence, or indication that the criminal investigation into the plaintiff, witnesses,

and/or counsel have concluded. This Court specifically stated that it “received reliable information

that there is an ongoing criminal investigation by the U.S. Attorney’s Office that may involve this

proceeding or witnesses or counsel in the proceeding.” (Red. Doc. 45, p. 1). Plaintiff appears to

have ignored that statement when he stated, “[t]here is not and has never been any evidence

presented to this Court to show that Plaintiff is, was or has ever been under investigation by the

U.S. Attorney’s Office in any pending criminal case.” (Rec. Doc. 54-1, p. 8). Unless the Court is




                                                   5
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 6 of 10




aware of reliable information that a change in circumstances has occurred, the stay is still

warranted.

         Further, this Court’s caveat to lifting the stay was “upon the motion of any party

demonstrating that the criminal investigation has concluded.” (Rec. Doc. 45, p. 2). Plaintiff did

not cite or produce any piece of evidence that demonstrated the criminal investigation concluded.

Rather, Plaintiff chose to submit an affidavit that Plaintiff waives his Fifth Amendment rights and

the deposition of the alleged witness of the accident. Neither exhibit demonstrates that the federal

investigation – whether it be of the Plaintiff, witness, or counsel – has concluded. The basic

threshold this Court set in place to lift the stay has not been met and, therefore, Plaintiff’s motion

should be dismissed.

    C. The jurisprudence cited by Plaintiff is misleading and does not support his position
       to lift the Stay Order.
         Plaintiff cites to several cases with his own interpretation on the holdings in an effort to

support his position to lift the Stay Order. The cases cited generally stand for one premise – that

the decision whether or not to stay litigation requires a case-by-case analysis.

         Plaintiff cites to a Fifth Circuit opinion, Wedgeworth v. Fibreboard Corp., that discusses

stay orders of indefinite duration. (Rec. Doc. 45-1, p. 4 (citing 706 F.2d 541, 545 (5th Cir. 1983)).

Plaintiff fails to acknowledge several key points about the Wedgeworth opinion.                 First,

Wedgeworth was a consolidated appeal from bankruptcy actions, which has its own procedural

rules for stay orders, with an underlying cause of action related to the occupational disease of

asbestosis. Id. at 545. The court pointed out that many of the claimants were dying and the

bankruptcy proceedings were not expected to conclude in the immediate future. Id. Second, a

party in that case filed a motion to stay seeking an indefinite stay order from the court based solely

on the existence of the pending bankruptcy proceedings. Id. at 543, 548. The Fifth Circuit

                                                  6
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 7 of 10




explained that “a stay must be ‘so framed in its inception that its force will be spent within

reasonable limits, so far at least as they are susceptible of prevision and description.” Id. at 545

(quoting Landis v. North American Co., 299 U.S. 248, 257 (1936)). The court clarified the effect

of its decision as it related to only the cases before it at the time of the Wedgeworth opinion:

         Our holding in no way limits a district court's broad control over its docket or its
         usual discretion regarding stays. Nor do we suggest that no stay could ever be
         justified in this complex maze of litigation. We speak not in absolutes, but find that
         in the situations posed by the cases now before us, the stays were improvidently
         granted.
Id. at 546. The matter currently before this Court does not involve bankruptcy proceedings,

occupational disease, or a request from the Defendants for an indefinite stay. Nor did this Court

issue the Stay Order for an indefinite period. Rather, the Stay Order issued in this litigation was

framed to allow for the stay to be lifted when a party provides a demonstration that the criminal

investigation has concluded. Plaintiff has failed to provide any evidence of such a conclusion.

         Plaintiff’s analysis of Dolan v. Parish of St. Tammany is also misguided. Importantly, the

ninety-day stay order was granted because the Plaintiff’s minor son had already been criminally

charged and the criminal trial was expected to be reset in the near future. 2013 WL 3270616, at

*6 (E.D. La. June 26, 2013). The court did not, as Plaintiff is attempting to imply, provide any

holding or even dicta that a stay order should be limited to such a short period of time in all or

even most cases. Rather, the Dolan court, like the Wedgeworth court, looked at the facts and

circumstances surrounding that particular case to determine the length of the stay. The Dolan

opinion cannot be earnestly read to imply that a ninety-day limit on stay orders is mandatory or

even preferred.

         Tijanoera v. Black Elk Energy Offshore Operations, L.L.C. can also be distinguished based

on the circumstances and phase of the civil litigation. 2015 WL 13227930 (E.D. La. Dec. 4, 2015).


                                                   7
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 8 of 10




When the stay was requested in Tijanoera, liability discovery was almost entirely complete. Id. at

*6. The court explained that “[i]t is disingenuous for [the movant] to argue now that proceedings

must be immediately stayed after the vast majority of discovery has been completed and only two

depositions – the content of which can be anticipated by the published expert reports – remain.”

Id. Tijanoera was posed for trial at the time the motion for a stay was filed, which weighed heavily

on the court’s decision not to grant the stay. Ultimately, the court found that only one of the six

factors weighed in favor of granting a stay. Id. at *9. In this case, discovery is not nearly complete

and only one deposition, that of the alleged witness, has been taken. Factually and procedurally,

this case differs from Tijanoera.

         Overall, the cases cited by Plaintiff only serve to show that district courts should look at

each particular case involving a stay on a case-by-case basis. Staying litigation is entirely up to

the discretion of this Court which requires this specific and individual analysis. Looking at the

circumstances surrounding this case, the Court should deny the Plaintiff’s Motion to Lift Stay

because the circumstances that prompted the stay initially have not changed.

    D. The Eastern District has not lifted the stay orders in cases with similar factual
       circumstances.

         In Defendants’ Motion to Stay filed on July 22, 2020, the Defendants cited over a dozen

similar cases involving Plaintiff’s Counsel in the instant matter that had been stayed by the Eastern

District. (Rec. Doc. 19-1, pp. 4-5). Those cases with the cited Stay Orders are listed below:

         1. Wimbush v. Perez, Civil Action No. 19-13641 (Rec. Doc. No. 33 - 7/15/20).

         2. Henderson-Burkhalter v. National Union Fire Insurance Co., Civil Action No. 18-928

             (Rec. Doc. 135 – 8/15/19).

         3. Frazier v. Runnels, Civil Action No. 18-2340 (Rec. Doc. 111 - 4/30/19)

         4. Thomas v. Chambers, Civil Action No. 18-4373 (Rec. Doc. 220 - 5/29/19)(partial lift

                                                  8
4724822 v3
        Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 9 of 10




              in relation to expert fees);

           5. Dorsey v. Jamair, Civil Action No. 18-6603 (Rec. Doc. No. 162- 6/12/19);

           6. Warren v. Rosstrans & Services, LLC, Civil Action No. 18-7599 (Rec. Doc. 64 -

              9/11/19);

           7. Reese v. Great West Cas. Co., Civil Action No. 18-8336 (Rec. Doc. No. 154 - 12/2/19);

           8. Reff v. Werner Enterprises, Inc., Civil Action No. 18-8350 (Rec. Doc. 106 - 8/16/19);

           9. Smith v. Tensley, Civil Action No. 18-9464 (Rec. Doc. No. 32 - 8/20/19);

           10. Charles v. Rose, Civil Action 18-12153 (Rec. Doc. No. 33 - 1/28/20);

           11. Williams v. U.S. Fire Ins. Co., Civil Action 18-14000 (Rec. Doc. No. 28 - 9/10/19);

           12. Barre v. Roehl Transp., Inc., Civil Action 19-9799 (Rec. Doc. No. 30 - 11/25/19); and

           13. Lee v. Sentry Casualty Co., Civil Action No. 19-9978 (Rec. Doc. No. 13- 6/3/19).

           Each of the above-listed thirteen cases were stayed prior to the Stay Order issued in this

case on September 30, 2020. Of these thirteen cases, the Eastern District has not lifted any of the

standing stay orders to allow litigation on the merits to proceed. In only one case, Thomas v.

Chambers, the court granted a partial lift of the stay to allow an expert fee dispute to be resolved.

All thirteen cases remain stayed from participating in discovery or adjudicating the case on the

merits. Presumably, if there was reliable information sufficient to lift the stay in this matter, at

least one other stay in the similar cases would have been lifted. That is simply not the case. There

is no evidence of reliable information that would justify lifting the stay in this matter or in any of

the other thirteen similar cases currently stayed in the Eastern District.

    III.      CONCLUSION
           WHEREFORE, Defendants Waste Connections Bayou, Inc., f/k/a Progressive Waste

Solutions of LA, Inc. and ACE American Insurance Company aver that the Plaintiff’s Motion to

Lift Stay (Rec. Doc. 54) filed by Plaintiff, Christopher Foret should be denied. The facts and
                                                9
4724822 v3
       Case 2:20-cv-00467-SM-DMD Document 56 Filed 06/13/23 Page 10 of 10




circumstances of this case and the six factors that this Court relied on to grant the Stay Order

initially have not changed. Further, Plaintiff has provided no proof that the criminal investigation

has concluded, which was required by this Court to lift the Stay Order. Therefore, the Plaintiff’s

Motion to Lift Stay (Rec. Doc. 54) should be denied until a determination can be provided to show

the conclusion of the investigation.




                                               Respectfully submitted,

                                               BLUE WILLIAMS, LLC

                                               /s/ Jacob K. Best
                                               ____________________________
                                               GUICE A. GIAMBRONE, III, T.A. (#25062)
                                               JACOB K. BEST (#29533)
                                               3421 N. Causeway Boulevard, 9th Floor
                                               Metairie, Louisiana 70002
                                               Telephone (504)-831-4091
                                               Facsimile: (504)-837-1182
                                               E-mail: ggiambrone@bluewilliams.com
                                                        jbest@bluewilliams.com
                                               Attorneys for Defendants Waste Connections
                                               Bayou, Inc. and ACE American Insurance Company
.
                                     CERTIFICATE OF SERVICE

         I do hereby certify I have on this 13th day of June, 2023, filed a true and accurate copy of

the foregoing pleading with the Clerk of Court for the United States District Court for the Eastern

District of Louisiana by using the CM/ECF system which will provide notice of the electronic

filing to Counsel for all parties.



                                               /s/ Jacob K. Best
                                               _____________________________
                                               Jacob K. Best


                                                 10
4724822 v3
